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                        UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TEXAS
                                     OFFICE OF THE CLERK

   David A. O’Toole                                                               211 West Ferguson
    Clerk of Clerk                                                                 Tyler, TX 75702



                                         October 28, 2021

Shea Neal Palavan
The Nielsen Law Firm, PC
9800 Northwest Freeway, Suite 314
Houston, TX 77092

Klaus H Hamm
Klarquist Sparkman LLP
One World Trade Center
121 SW Salmon Street, Suite 1600
Portland, OR 97204


                                      In re: Location Services IP, LLC v. Microsoft Corporation
                                            2:15cv438

Dear Counsel and Parties,

        The above-mentioned case was previously assigned to Chief Judge Rodney Gilstrap.

          Chief Judge Gilstrap informed me that it has been brought to his attention that, while
 the case was assigned to him, a trust in which his spouse has an interest held stock in Microsoft
 Corp. The trust’s ownership of stock neither affected nor impacted Chief Judge Gilstrap’s
 decisions, if he in fact made any decisions, in this case. However, the trust’s stock ownership
 may have required recusal under the Code of Conduct for United States Judges, and thus, Chief
 Judge Gilstrap directed that I notify the parties.

        Advisory Opinion 71, from the Judicial Conference Codes of Conduct Committee,
 provides the following guidance for addressing disqualification that is not discovered until after
 a judge has participated in a case:

                 [A] judge should disclose to the parties the facts bearing on
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               disqualification as soon as those facts are learned, even though
               that may occur after entry of the decision. The parties may then
               determine what relief they may seek and a court (without the
               disqualified judge) will decide the legal consequence, if any,
               arising from the participation of the disqualified judge in the
               entered decision.

       Although Advisory Opinion 71 contemplated disqualification after a Court of Appeals
oral argument, the Committee explained “[s]imilar considerations would apply when a
judgment was entered in a district court by a judge and it is later learned that the judge was
disqualified.”

        With Advisory Opinion 71 in mind, you are invited to respond to Chief Judge
Gilstrap’s disclosures regarding this case. Should you wish to respond, please submit your
response within the next 30 days. Any response will be considered by another judge of this
court without the participation of Chief Judge Gilstrap.


                                    Sincerely,

                                    ________________________________
                                    David A. O’Toole
                                    Clerk of Court
